Case 5:22-cv-03282-EFM-RES Doegument 5 Filed 12/08/22 Page 1 of 21

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Address
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS
michael A. >c rive MPtantite casENo, _22°3282-JWL-JPO
(Full Name) (To be supplied by the Clerk)
V.
vike) Care ee AMENDED
vitql Gee  'r@CY Defendant (s) CIVIL RIGHTS COMPLAINT
x foe : “4 PURSUANT TO 42 U.S.C.
Perrisef bemoarco Fugqn $1983
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A. JURISDICTION
Hn _™ ichoel A. Sor) veh , is a citizen of Kansas
; (Plaintiff) (State)
fu) has p ; 4 fe i14o@o072
who presently resides at Hl owe ble Wc hig: FS FIT Yes

re ) i (Mailing address or place
Sedgwick County Fail

of confinement:)
2) Defendant V | 10 |} Core rie is a citizen of
(Name of first defendant)
Wichr+o Ss , and is employed as

(City, State)

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(Position and title, if any) :

claim(s) alleged in this complaint arose, was this defendant acting under the color of state

law? Yes No[_]. If your answer is “Yes”, briefly explain:

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3) Defendant §¢ “CY is a citizen of
, (Name of second defendant)
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iW PERET SE eS , and is employed as

(City, state)

A © € 4 cy hs , 1 Bs | \ Porbre st go Te. :
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(Position and title, if any)

claim (s) alleged in this complaint arose was this defendant acting under the color of state

law? Yes No [__]. If your answer is “Yes”, briefly explain:

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(Use the back of this page to furnish the above information for additional defendants.)

4) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3); 42 U.S.C. §1983. (If you wish to

assert jurisdiction under different or additional statutes, you may list them below.)

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B. NATURE OF THE CASE

1) Briefly state the background of your case:

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Bb. Norure of the Case page ee

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C. CAUSE OF ACTION

1) Iallege that the following of my constitutional rights, privileges or immunities have been
violated and that the following facts form the basis for my allegations: (If necessary you
may attach up to two additional pages (8h” x 11”) to explain any allegation or to list
additional supporting facts.)

A) (1) Count: fg pe )) Vitol Core

(2) Supporting Facts: (Include all facts you consider important, including names of
persons involved, places and dates. Describe exactly how each defendant is involved.

State the facts clearly in your own words without citing legal authority or argument.):

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B) (1)Countt: Se cti en VTE Corse irvey |

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(2) Supporting Facts: AW six debe mnbneys a Pleo Se

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Case 5:22-cv-03282-EFM-RES Document 5 Filed 12/08/22 Page 100

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Case 5:22-cv-03282-EFM-RES Document5 Filed 12/08/22 Page 11 of 21

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Counr Supporting cucts

Deliberate tydifference to the serious medicdl neeths of
the plaintiff: FourteeAth Amendment

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ive. F told per F trigted shose medicines years ago and
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as hed me jf £ have seen mental heq)pth services. F told her
T have severe bore growth palpable hasses® ander ay plein
intecting my hips and pelvis and very much soft tissue
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irre tigsue Ohd muscle yrd she said yes td have seep neces
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Group who only sepds then g generated report of the rages.
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said yes: £ asked her jf she krows J have severe joint
Jegererutive diseqre ghd she said Wet gy etl her asp
Case 5:22-cv-03282-EFM-RES Document5 Filed 12/08/22 Page 14 of 21

Count at Supporting Foi cis page 3

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Case 5:22-cv-03282-EFM-RES Document 5 Filed 12/08/22 Page 15 of 21

Count (lt) Supporting t aeks page +.

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severe it Wakes Me up ar F'60 ar screaming ourloud cn agony
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ard fompss every brexbtast - She said she cant mabe ony
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to leave me with hothinyg Fo take - £ never even fyw o provid -
er. Days ee Fagurd ouk Thoprofen wos pur back oh my chart.

ws eventually able ¢y Find out tracy he the provider who put

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(2) Supporting Facts: Deberdant Tracy ard yl so

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Sune ching Facts
D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF
1) Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to the conditions of your imprisonment?
Yes Ld No[_] . If your answer if “Yes”, describe each lawsuit. (If there is more than
one lawsuit, describe the additional lawsuits on another piece of paper, using the same
outline.)
a) Parties to previous lawsuit:

Plaintiffs; PX, chee! Ao Server

Defendants: ( Cp bs Tu cter, Hheyes Me G@ OPP igi]
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S ] mu h : ¢ . g - | Sow Pea = po
b) Name of court and docket number VS oA

eS.

c) Disposition (for example: Was the case dismissed? Was it appealed? Is it still

pending?) _¢ * Await y
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d) Issuesraised @ yc ffi iv t Focee fo lyre te

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Count (Vv
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e) Approximate date of filing lawsuit 1 0 ©

f) Approximate date of disposition pe rua ng
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v

1) Ihave previously sought informal or formal relief from the appropriate administrative
officials regarding the acts complained of in Part C Yes NoL_]. If your answer is
“Yes”, briefly describe how relief was sought and the results. If you answer is “No”,

briefly explain why administrative relief was not sought.

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2) REQUEST FOR RELIEF

1) I believe that I am entitled to the following relief:

Signature of Attorney (if any)

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“NS
(Attorney’s full address and telephone number)

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